                        IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW MEXICO

ISAAC LEGARETTA, ANTHONY                     )
ZOCCOLI and JOHN or JANE DOES 1-20,          )
                                             )
                      Plaintiffs,            )
                                             )
vs.                                          )               Case No.: 2:21-cv-00179
                                             )
                                             )
FERNANDO MACIAS, Dona Ana County             )
Manager, DIRECTOR BRYAN BAKER, an            )
Official with the Dona Ana County Detention  )
Center, CAPTAIN BEN MENDOZA, an official )                   AMENDED COMPLAINT
with the Dona Ana County Detention Center,   )
CAPTAIN JOSHUA FLEMING, an official with )
the Dona Ana County Detention Center, COUNTY )
OF DONA ANA and JOHN or JANE DOES 1-20, )
                                             )
                                             )
                      Defendants.            )

     AMENDED COMPLAINT FOR INJUNCTIVE AND DECLARATORY RELIEF

       For the First Amended Complaint, Plaintiffs, by and through their attorneys, N. Ana

Garner and Jonathan M. Diener, state:

                                GENERAL ALLEGATIONS

       1. Plaintiffs LEGARETTA and ZOCCOLI are residents of the state of New Mexico,

County of Dona Ana, City of Las Cruces. Defendant Fernando Macias is a governmental official

within the state of New Mexico. Defendants Director Bryan Baker, Captain Ben Mendoza and

Captain Joshua Fleming were at all material times hereto, supervisors to Plaintiffs, any of which

have the authority from Defendant Macias to terminate Plaintiffs from their employment or

otherwise enforce the illegal mandate for compulsory COVID-19 injection. The County of Dona

Ana is the employer of all Defendants and was the employer of the Plaintiffs.
       2. This Court possesses proper subject matter and personal jurisdiction over the parties.

Jurisdiction of this Court is invoked pursuant to Article III of the U.S. Constitution, 28 U.S.C.

§1331 and 1343, 42 U.S.C. §1983 and 1988, 42 U.S.C. §2000d, and common law pursuant to

28U.S.C. §1367(a) and common law.

       3. This Court has jurisdiction under Article III because the Plaintiffs allege that Defendant

Macias has violated Plaintiffs’ rights by issuing a mandate requiring them to take a vaccine for

COVID-19 which mandate is in direct conflict with federal law which states that the unapproved

COVID-19 vaccine cannot be mandatory. This Court also has jurisdiction because the Plaintiffs

allege that the Defendants have violated Plaintiffs’ rights under the Bill of Rights of the United

States Constitution. Plaintiffs assert that these two issues are important issues, a decision on which

may have widespread impact and should be decided by a Federal Court. This Court may and should

decide any state law questions within the Complaint by virtue of pendent jurisdiction pursuant to

28 U.S.C. 1367(a) and common law.

       4. The Plaintiffs were employees at the Dona Ana Detention Center which is administered

by the Defendants. On or about February 1, 2021, County Manager Fernando Macias issued a

“Mandatory COVID-19 Vaccination Directive,” requiring first-responders in Dona Ana County to

receive the COVID-19 vaccination as a condition of ongoing employment. Exhibit A.

       5. On or about February 18, 2021, Plaintiff LEGARETTA received a 5-day notice to

comply with the mandate to receive the COVID vaccine. After refusing, LEGARETTA received

a “coaching and counseling” write up for not complying with the directive. Exhibit B.

       Since LEGARRETTA did not consent to take the non-mandatory experimental vaccine

and after this suit was filed, he was demoted by being reassigned to the juvenile section of the

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Detention Center. This reassignment was done in violation of County administrative rules, which

require reverse seniority to assign an employee to a position that no one had applied for. Plaintiff

LEGARETTA had seniority above 15 other employees, who should have been considered before

Plaintiff for a position for which no one applied. Though this may not have affected pay, working

in the juvenile section is generally considered a less desirable position than LEGARRETA’s

previous position in the adult section.

       6. Since LEGARRETA did not consent to take the non-mandatory experimental vaccine

and after this suit was filed, he was dismissed from a position he had on the Detention Center’s

emergency response team which resulted in a loss of income.

       7. Since LEGARRETA did not consent to take the non-mandatory experimental vaccine

and after he filed this suit, Plaintiff has been subjected to a hostile work environment. As a direct

and proximate result of the aforementioned demotion, dismissal from another position and the

hostile work environment, LEGARETTA quit his employment with the County. The creation of a

hostile work environment and the demotion and dismissal mentioned above constituted a

constructive termination by the County.

       8. Since Plaintiff ZOCCOLI did not consent to take the non-mandatory experimental

injection, Defendants fired him.

       9. The Mandatory COVID-19 Vaccination Directive issued by Defendant Macias is in

direct violation of Federal law, specifically 21 U.S. Code § 360bbb–3 - Authorization for medical

products for use in emergencies. That law states that where a medical product is “unapproved”

then no one may be mandated to take it. Section (e)(1)(A) of this statute states:

          With respect to the emergency use of an unapproved product, the Secretary, to
          the extent practicable given the applicable circumstances described in subsection
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          (b)(1), shall, for a person who carries out any activity for which the authorization
          is issued, establish such conditions on an authorization under this section as the
          Secretary finds necessary or appropriate to protect the public health, including
          the following:

          (i) Appropriate conditions designed to ensure that health care professionals
          administering the product are informed--
              (I) that the Secretary has authorized the emergency use of the product;
             (II) of the significant known and potential benefits and risks of the emergency
          use of the product, and of the extent to which such benefits and risks are
          unknown; and
             (III) of the alternatives to the product that are available, and of their benefits
          and risks.
          (ii) Appropriate conditions designed to ensure that individuals to whom the
          product is administered are informed--
             (I) that the Secretary has authorized the emergency use of the product;
             (II) of the significant known and potential benefits and risks of such use, and
          of the extent to which such benefits and risks are unknown; and
             (III) of the option to accept or refuse administration of the product, of the
          consequences, if any, of refusing administration of the product, and of the
          alternatives to the product that are available and of their benefits and risks.
          (emphasis added)

       10. The Defendants have violated section i(II) of 21 U.S. Code § 360bbb–3(e)(1)(A) cited

above in that they did not advise Plaintiffs of the “known and potential benefits and risks of such

use, and of the extent to which such benefits and risks are unknown” of the COVID-19 vaccine.

       11. The Defendants have violated i(III) of 21 U.S. Code § 360bbb–3(e)(1)(A) which

requires advising of alternatives to the vaccine. Public opinion notwithstanding, medical

alternatives to the vaccine do exist. Most importantly for purposes of the injunctive and declaratory

relief requested, the Defendants did not inform Plaintiffs of the option to refuse the vaccine. Quite

the opposite, each was advised that he would be fired if he did refuse.

       12. That the vaccine being forced upon Plaintiffs is unapproved cannot be disputed. Even

though the FDA granted emergency use authorizations for the Pfizer/BioNTech and Moderna

vaccines in December, 2020, the clinical trials the FDA will rely upon to ultimately decide whether
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to approve these vaccines are still underway and are designed to last for approximately two years

to collect adequate data to establish if these vaccines are safe and effective enough for the FDA to

license. The abbreviated timelines for the emergency use applications and authorizations means

there is much the FDA does not know about these products even as it authorizes them for

emergency use, including their effectiveness against infection and death from and transmission of,

SARS-CoV-2, the virus that is allegedly the cause of the COVID disease. Given the uncertainty

about the two vaccines, their EUAs (emergency use authorizations) are explicit that each is “an

investigational vaccine not licensed for any indication” and require that all “promotional material

relating to the Covid-19 Vaccine clearly and conspicuously ... state that this product has not been

approved or licensed by the FDA, but has been authorized for emergency use by FDA”. See

Exhibit C, EUA letter for Pfizer.

       13. The FDA on their website has stated the following:FDA believes that the terms and

conditions of an EUA issued under section564 preempt state or local law, both legislative

requirements and common-law duties, that impose different or additional requirements on the

medical product for which the EUA was issued in the context of the emergency declared under

section 564 … In an emergency, it is critical that the conditions that are part of the EUA or an

order or waiver issued pursuant to section 564A — those that FDA has determined to be necessary

or appropriate to protect the public health—be strictly followed, and that no additional conditions

be imposed.

       14. On August, 2020 at a Centers for Disease Control and Prevention published meeting

of the Advisory Committee on Immunization Practices the Committee’s Executive Secretary and




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Chief Medical Officer of the National Center for Immunizations and Respiratory Diseases, Dr.

Amanda Cohn stated:

       “I just wanted to add that, just wanted to remind everybody, that under an
       Emergency Use Authorization, an EUA, vaccines are not allowed to be mandatory.
       So, early in this vaccination phase, individuals will have to be consented and they
       won’t be able to be mandated.”1

       15. The EUAs for both the Pfizer/BioNTech and Moderna vaccines require fact sheets to

be given to vaccination providers and recipients. These fact sheets make clear that getting the

vaccine is optional. For example, the Information Fact Sheet for recipients states that, “It is your

choice to receive or not receive the Covid-19 Vaccine,” and if “you decide to not receive it, it will

not change your standard of medical care.”

       16. The Pfizer/BioNTech and Moderna “vaccines” are not actually vaccines as that word

has been commonly understood. Vaccines such as those used against diseases like polio, small pox

and measles use all or portions of material from microorganisms which are from the disease itself

but have been weakened or inactivated so as not to cause the recipient to get the disease while

giving the recipient immunity should she come into contact with the active disease

microorganisms. The mRNA vaccines by Pfizer/BioNTech and Moderna are synthetic. They are

not taken from the SARS-CoV2 virus. They work by causing DNA in the recipient to produce

replicas of a protein from the SARS-CoV2 virus.

       It is worth noting that mRNA technology has never been successfully used with a vaccine.

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 https://www.cdc.gov/vaccines/videos/low-res/acipaug2020/COVID-19Supply-NextSteps_3_LowRes.mp4
(@1:14:40).




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           Vaccine development was attempted in experiments in 2005 and 2012 for vaccines for the

MERS and A+SARS Cov-1. It was abandoned because the animals in the clinical trials died from

the experimental vaccines.

           17. The clinical trials which have been done for the Pfizer/BioNTech and Moderna

vaccines only demonstrated one thing – that the “vaccines” may be effective in reducing symptoms

of someone who contracts COVID-19 after inoculation. They did not show that the vaccines would

prevent infection or transmission to others! This fact has been acknowledged by World Health

Organization as well as Dr. Anthony Fauci.2 The companies did not even investigate whether the

vaccines prevent people from becoming asymptomatically infected with the SARS-CoV-2 virus

or whether the vaccines will prevent transmission it to other people.3 (See also, footnote 2).

           18. It is uncertain that the vaccines can prevent clinically symptomatic COVID disease, as

more reports are coming out of people getting the disease after receiving the full shot protocol.4

During a press conference, WHO chief scientist and pediatrician Soumya Swaminathan, MD said:

      We continue to wait for more results from the vaccine trials to really understand
      whether the vaccines, apart from preventing symptomatic disease and severe
      disease and deaths, whether they’re also going to reduce infection or prevent people
      from getting infected with the virus, then from passing it on or transmitting it to
      other people. I don’t believe we have the evidence on any of the vaccines to be
      confident that it’s going to prevent people from actually getting the infection and
      therefore being able to pass it on.
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  Fisher BL. WHO, Fauci Warn COVID-19 Vaccines May Not Prevent Infection and Disease Transmission. The
Vaccine Reaction Jan. 3, 2021. Kim S. Dr. Fauci on Mandatory COVID Vaccines: ‘Everything Will Be on the
Table’. Newsweek Jan. 1, 2021. Colson T. Top WHO scientist says vaccinated travelers should still quarantine,
citing lack of evidence that COVID-19 vaccines prevent transmission. Business Insider Dec. 29, 2020.
3
    https://clinicaltrials.gov/ct2/show/study/NCT04368728]
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  246 Fully Vaccinated People in Michigan Test Positive for COVID-19; 3 Dead; The Epoch Times,
https://www.theepochtimes.com/246-fully-vaccinated-people-in-michigan-test-positive-for-covid-19-3-
dead_3765643.html


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Dr. Swaminathan said the COVID-19 vaccine was designed to first prevent symptomatic disease,

severe disease and deaths. Mark Ryan, MD, MPH, who is executive director of the WHO Health

Emergencies Program, agreed with Swaminathan and added:

        So, the first primary objective is to decrease the impact the disease is having on
        people’s lives and, therefore, that will be a major step forward in bringing the world
        back to some kind of normal. The second phase is then looking at how will this
        vaccine affect transmission. We just don’t know enough yet about length of
        protection and other things to be absolutely able to predict that, but we should be
        able to get good control of the virus.

        19. In an interview with the New York Times, Anthony Fauci said: “We do not know if

the vaccines that prevent clinical disease also prevent infection. They very well might, but we have

not proven that yet. That’s the reason I keep saying that even though you get vaccinated, we should

not eliminate, at all, public health measures like wearing masks because we don’t know yet what

the effect [of the vaccine] is on transmissibility.” (Footnote 2, supra)

        20. The fact that the vaccines have only been shown to reduce symptoms of the recipient

and not prevent infection or transmission is a fact extremely important to Plaintiffs’ claims. This

is because the argument for mandated vaccines is that they are necessary to protect society at large.

There is not even an argument that can be made that a competent person can be compelled to have

a medical intervention “for the greater good” when the intervention has been shown to at most

merely benefit a recipient. However, even if society could be benefited in some way from

mandated vaccination, the constitutional rights articulated in cases such as Planned Parenthood

and Cruzan, infra, as well as 21 U.S. Code § 360bbb–3, supra would prohibit it.

        21. However, it is not just effectiveness in combatting covid that is at issue with these

vaccines still being in their test phase. There are real risks to health and even life in the use of these

medical products that have not been fully tested. The experimental shots are designed to address a
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disease that has an overall survival rate of 99.9% for all ages, and for the over-70 age, it is 99.7%.

The Court should take judicial notice of the fact that the use of the AstraZeneca Vaccine for covid

has been suspended by much of Europe: Germany, France, Italy, Spain and Ireland at the time this

pleading was drafted. The reason is there were many reports of adverse reactions including deaths

from blood clots in the brain after receiving the vaccine.5 More recently, on April 13, the FDA

advised states to “pause” the use of J&J vaccines due to blood clotting disorders seen after

injection. 6

          22. In the U.S. as March 26, 2021, the CDC has reported through the Vaccine Adverse

Event Reporting System (VAERS), a U.S. Government funded database that tracks injuries and

deaths caused by vaccines, 50,861 recorded adverse events, including 2,249 deaths following

injections of the experimental COVID mRNA shots by Pfizer and Moderna. As of one month

earlier, by February 26, there had been 4,930 visits to Emergency Room doctors, 479 permanent

disabilities, and 2,743 hospitalizations.7

Moreover, it is recognized even by VAERS itself that adverse events including deaths as a



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  The Epoch Times, March 16, 2021, https://www.theepochtimes.com/astrazeneca-vaccine suspended-by-germany-
france-italy-spain-over-precautions_3734234.html
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  https://www.cnbc.com/2021/04/13/us-regulators-reportedly-call-for-pause-in-use-of-johnson-johnson-vaccine-due-
to-clotting-issues.html
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    https://www.cdc.gov/coronavirus/2019-ncov/vaccines/safety/adverse-events.html




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result of vaccines is greatly underreported.8 A report from researchers at Harvard Medical School,

including the Director of Bioinformatics, funded by an agency within the U.S. Department of

Health and Human Services, stated that “fewer than 1% of vaccine (not just the covid vaccine)

adverse events are reported” to VAERS. (Id.) In addition, the VAERS Vaccine Court has, in spite

of a very demanding procedure for recovery, paid out over $4 billion in damages to vaccine-injured

persons since its inception. Further, there is evidence that in the first three months’ of

administration of the experimental vaccines, the death rate associated with vaccines was more than

double that from all vaccines administered in the previous decade.

        23. Numbers and statistics may fail to fully convey the tragedy of healthy (often young)

people taking the covid vaccine to protect themselves and dying shortly thereafter. The following

citation is to a collection of news stories with pictures of those unfortunate persons; the pictures

that speak volumes. https://archive.org/details/frontline-workers-testimonies-vaers-reports-26-

mar-2021/page/n21/mode/2up.

        24. One would expect that healthcare and hospital workers, who deal with disease

,infection and death on a regular basis who have more medical knowledge than most people and

who may be more at risk for COVID-19 due to their profession would want to be vaccinated unless

there was risk involved. In fact, a very high percentage of such workers are refusing to be

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  From the VAERS website at https://vaers.hhs.gov/data/dataguide.html: “VAERS is a passive reporting system,
meaning that reports about adverse events are not automatically collected, but require a report to be filed to VAERS.
VAERS reports can be submitted voluntarily by anyone, including healthcare providers, patients, or family members.
Reports vary in quality and completeness. They often lack details and sometimes can have information that contains
errors.

"Underreporting" is one of the main limitations of passive surveillance systems, including VAERS. The term,
underreporting refers to the fact that VAERS receives reports for only a small fraction of actual adverse events.”



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vaccinated because they believe there is a risk to their health from the vaccine.9

                                              FEDERAL PREEMPTION

           25. The above paragraphs are realleged as if incorporated herein.

           26. The Supremacy Clause of the United States Constitution, Art. VI, which is the basis

of the federal preemption doctrine, states:

              “This Constitution, and the laws of the United States which shall be made in
              pursuance thereof; and all treaties made, or which shall be made, under the
              authority of the United States, shall be the supreme law of the land; and the
              judges in every state shall be bound thereby, anything in the Constitution or laws
              of any State to the contrary notwithstanding.”

           27. A federal requirement preempts a state requirement if the state requirement actually

conflicts with the federal requirement because compliance with both is impossible. Florida Lime

& Avocado Growers, Inc. v. Paul, 373 U.S. 132, 142-143 (1963). Preemption will also be

applicable if the state requirement ''stands as an obstacle to the accomplishment and execution of

the full purposes and objectives of Congress,'' Hines v. Davidowitz, 312 U.S. 52, 67, 61 S.Ct. 399,

404, 85 L.Ed. 581 (1941). Finally, federal exemption applies if a scheme of federal regulation is

''so pervasive as to make reasonable the inference that Congress left no room for the States to

supplement it.'' Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947).

           28. A more attenuated analysis of the doctrine of federal preemption including express

and implied preemption is succinctly articulated in Frei v. Taro Pharm. United States, Inc., 443

F.Supp.3d 456 (S.D. N.Y. 2020):

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    https://www.latimes.com/california/2020-12-31/healthcare-workers-refuse-covid-19-vaccine-access:
https://www.health.harvard.edu/blog/why-wont-some-health-care-workers-get-vaccinated-2021021721967


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          Express preemption is present when Congress's intent to preempt state law is
          explicitly stated in the statute's language. In re PepsiCo., Inc., Bottled Water
          Mktg. & Sales Practices Litig., 588 F. Supp. 2d 527, 530 (S.D.N.Y. 2008).
          Implied preemption arises when, in the absence of explicit statutory language,
          ... Congress intended the Federal Government to occupy a field exclusively, or
          when state law actually conflicts with federal law. Air Trans. Ass'n of Am., Inc. v.
          Cuomo, 520 F.3d 218, 220 (2d Cir. 2008) (citing English v. Gen. Elec. Co., 496
          U.S. 72, 79, 110 S.Ct. 2270, 110 L.Ed.2d 65 (1990) ).

          The latter type of implied preemption, called "conflict preemption," “comes in
          two forms—impossibility preemption and obstacle preemption.: McDaniel v.
          Upsher-Smith Labs., Inc., 893F.3d 941, 944 (6th Cir. 2018). The first,
          impossibility preemption, arises as its title suggests: when compliance with both
          federal and state law is impossible. Gade v. Nat'l Solid Wastes Mgmt. Ass'n, 505
          U.S. 88, 98, 112 S.Ct. 2374, 120 L.Ed.2d 73 (1992). ‘The proper question for
          impossibility analysis is whether the private party could independently do under
          federal law what state law requires of it.’ PLIVA, Inc. v. Mensing, 564 U.S. at
          620, 131 S.Ct. 2567. The second form, obstacle preemption, exists ‘when a state
          law stands as an obstacle to the accomplishment and execution of the full
          purposes and objectives of Congress.’ Wis. Pub. Intervenor v. Mortier, 501 U.S.
          597, 605, 111 S.Ct. 2476, 115 L.Ed.2d 532 (1991).Frei v. Taro at 465-466.

       29. The federal law at issue in this case preempts the Defendants’ directive which

completely disregards it, because compliance with both is impossible. In addition, Defendants’ 13

failure to comply with the federal law clearly is an obstacle to the purpose of the federal law to

insure people are not mandated or coerced to take an unapproved drug or vaccine. Moreover,

Plaintiff contends that the FDA, an agent of the Department of Health and Human Services, intends

to exclusively occupy the field of approval of drugs and the manner in which unapproved products

may be administered. This would seem to be self-evident. States simply do not venture into the

area of drug approval. This is the FDA’s field. The Defendants’ mandate of an Emergency Use

Authorization product violates federal law by not giving employees the right to refuse the

vaccination, in clear violation of the doctrine of federal preemption. See generally, Lorillard

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Tobacco Co. v. Reilly, 533 U.S. 525, 570-71 (2001) (overturning a state public health law because

it was already the subject of a comprehensive federal scheme to manage public health).

       30. This Court may take judicial note of the fact that the FDA has stated: “FDA believes

that the terms and conditions of an EUA issued under section 564 preempt state or local law, both

legislative requirements and common-law duties, that impose different or additional requirements

on the medical product for which the EUA was issued in the context of the emergency declared

under section 564. https://www.fda.gov/

                                         RELIEF REQUESTED

COUNT ONE – DECLARATORY RELIEF

       31. Plaintiffs reallege and incorporate the above allegations as if set forth herein.

       32. Plaintiffs need not ask whether this relief would apply to a private employer, but the

federal law under the EUA clearly preempts public mandates.

       33. Plaintiffs request the Court issue declaratory relief that:

           (a.) 21 U.S. Code § 360bbb–3, Section (e)(1)(A) does not permit Defendants to
           coerce an employee to accept an unapproved vaccine on penalty of termination
           or other sanctions.

           (b.) The doctrine of federal preemption invalidates and voids the “Mandatory
           COVID-19 Vaccination Directive” of Defendant Macias.

COUNT TWO – VIOLATION OF THE WHISTLEBLOWER PROTECTION ACT
(against all Defendants)

       34. Plaintiffs reallege and incorporate the above allegations as if set forth herein.

       35. Section10-16C-3. of the Whistleblowers Protection Act Public employer retaliatory

action prohibited, states as follows:




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           A public employer shall not take any retaliatory action against a public

employee because the public employee:

           A. communicates to the public employer or a third party information about an
           action or a failure to act that the public employee believes in good faith
           constitutes an unlawful or improper act;

          B. provides information to, or testifies before, a public body as part of an
          investigation, hearing or inquiry into an unlawful or improper act; or

          C. objects to or refuses to participate in an activity, policy or practice that
          constitutes an unlawful or improper act.”

       36. Plaintiff LEGARRETA contacted one of the undersigned counsel and advised them

that he was being required to accept a covid vaccine without his consent and this suit was filed.

Thereafter, the Defendants took the actions alleged in paragraphs five, six and seven hereinabove.

These actions constituted a constructive discharge and a retaliatory action in violation of Sections

A and C and possibly B of 10-16C-3 of the Whistleblowers Protection Act.

COUNT THREE - INJUNCTIVE RELIEF/MANDAMUS (against all Defendants)

       37. Plaintiffs reallege and incorporate the above allegations as if set forth herein.

       38. Plaintiff ZOCCOLI was fired by Defendants as a direct result of his failure to adhere

to an illegal mandate requiring all first responders to take the COVID19 injection. The New

Mexico Supreme Court has defined a retaliatory discharge as follows:

          "For an employee to recover under this new cause of action, he must demonstrate
          that he was discharged because he performed an act that public policy has
          authorized or would encourage, or because he refused to do something required
          of him by his employer that public policy would condemn."

       Shovelin v. Central New Mexico Elec. Co-op., Inc., 850 P.2d 996, 115 N.M. 293,

1993 NMSC 15 (N.M. 1993)



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       39. Pursuant to the Supreme Court’s definition in Shovelin, the firing of Zoccoli was a

retaliatory discharge. Upon information and belief, ZOCCOLI cannot sue for damages for the tort

of retaliatory discharge because New Mexico’s sovereign immunity would not allow it and such

immunity for a retaliatory discharge has not been waived in the New Mexico Tort Claims Act.

New Mexico’s sovereign immunity protects Defendants in their official capacity from suits for

monetary damages but not suits for injunctions. Lacking the ability to sue for damages for

retaliatory discharge, Plaintiff will be irreparably harmed absent injunctive relief.

       40. This Court is requested to enter an injunction or issue a writ of mandamus requiring

that ZOCCOLI be reinstated to his position of employment with the time he has previously worked

for the County be applied towards his probationary period.

COUNT FOUR – CONSTITUTIONAL VIOLATION – GENERAL (against all Defendants)

       41. Plaintiffs reallege and incorporate the above allegations as if set forth herein.

       42. Plaintiffs request the Court make a finding that the Defendants violated Plaintiffs’

constitutional rights. There are five purposes such a finding will serve. 1.) The 42 USC Section

1983 claim for obvious reasons, 2.) Likewise, the unconstitutional conditions claim, 3.) Such a

finding will also be important in determining whether the firing of Plaintiff ZOCCOLI was

contrary to public policy and whether ZOCCOLI’s actions in refusing the vaccine is supported by

public policy for purposes of his retaliatory discharge claim, 4.) A finding that the Plaintiffs’

constitutional rights were violated will buttress and support ZOCCOLI’s request for injunctive and

mandamus relief. (Federal courts have a long history of issuing injunctions where constitutional

rights are involved. See John F. Preis, In Defense of Implied Injunction Relief in Constitutional

Cases, 22 Wm. & Mary Bill Rts. J. 1 (2013), https://scholarship.law.wm.edu/wmborj/vol22/iss1/2.)

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5.) Plaintiff LEGARETTA’s whistleblower claim requires a finding that he “objects to or refuses

to participate in an activity, policy or practice that constitutes an unlawful or improper act”. If

mandating the vaccine violated LEGARETTA’s constitutional rights, his refusal to participate in

this “unlawful or improper act” would constitute fulfillment of that prong the Whistleblower Act.

       43. Plaintiffs contend that the Defendants’ firing or constructively discharging them for

not consenting to take a non-mandatory unapproved vaccine is a violation of their due process

right to life and liberty under the 14th Amendment and an invasion of the zone of privacy and right

to bodily integrity which have been held to emanate from various Bill of Rights amendments,

including the first, fourth and fifth as well as the ninth amendment which speaks of essential but

unenumerated rights. The constitutionally protected zone of privacy and right to bodily integrity

have been articulated is many Supreme Court cases, including Mapp v. Ohio, 367 17

U.S. 643 (1961), Griswold v. State of Connecticut, 381 U.S. 479, 85 S.Ct. 1678, 14 L.Ed.2d 510

(1965); and Roe v. Wade, 410 US 113 (1973).

       In Griswold, supra, the Court struck down a law which impacted a woman’s right to use

contraceptives. The Court Justice Douglas writing for the majority said:

       The foregoing cases suggest that specific guarantees in the Bill of Rights have
       penumbras, formed by emanations from those guarantees that help give them life
       and substance. See Poe v. Ullman, 367 U.S. 497, 516—522, 81 S. Ct. 1752, 6
       L.Ed.2d 989 (dissenting opinion). Various guarantees create zones of privacy. The
       right of association contained in the penumbra of the First Amendment is one, as
       we have seen. The Third Amendment in its prohibition against the quartering of
       soldiers 'in any house' in time of peace without the consent of the owner is another
       facet of that privacy. The Fourth Amendment explicitly affirms the 'right of the
       people to be secure in their persons, houses, papers, and effects, against
       unreasonable searches and seizures.' The Fifth Amendment in its Self-Incrimination
       Clause enables the citizen to create a zone of privacy which government may not
       force him to surrender to his detriment. The Ninth Amendment provides: 'The
       enumeration in the Constitution, of certain rights, shall not be construed to deny or
       disparage others retained by the people.'
                                                16
       The Fourth and Fifth Amendments were described in Boyd v. United States, 116
       U.S. 616, 630, 6 S.Ct. 524, 532, 29 L.Ed. 746, as protection against all
       governmental invasions of the sanctity of a man's home and the privacies of life.'*
       We recently referred in Mapp v. Ohio, 367 U.S. 643, 656, 81 S.Ct. 1684 1692, 6
       L.Ed.2d 1081, to the Fourth Amendment as creating a 'right to privacy, no less
       important than any other right carefully and particularly reserved to the people.' See
       Beaney, The Constitutional Right to Privacy, 1962 Sup.Ct.Rev. 212; Griswold, The
       Right to be Let Alone, 55 Nw.U.L.Rev. 216 (1960).

       Griswold at pp 484-485

       44. More recently in Planned Parenthood v. Casey, 505 U.S. 833(1992), referencing the

Roe v. Wade decision the Court stated:

       Roe, however, may be seen not only as an exemplar of Griswold liberty but as a
       rule (whether or not mistaken) of personal autonomy and bodily integrity, with
       doctrinal affinity to cases recognizing limits on governmental power to mandate
       medical treatment or to bar its rejection. If so, our cases since Roe accord with
       Roe's view that a State's interest in the protection of life falls short of justifying
       any plenary override of individual liberty claims.
       Cruzan v. Director, Mo. Dept. of Health, 497 U.S. 261, 278, 111 L. Ed. 2d 224,
       110 S. Ct. 2841 (1990); cf., e. g., Riggins v. Nevada, 504 U.S. 127, 135, 118 L. Ed.
       2d 479, 112 S. Ct. 1810 (1992); Washington v. Harper, 494 U.S. 210, 108 L. Ed.
       2D 178, 110 S. Ct. 1028 (1990); see also, e. g., Rochin v.California, 342 U.S. 165,
       96 L. Ed. 183, 72 S. Ct. 205 (1952); Jacobson v. Massachusetts, 197 U.S. 11, 24-
       30, 49 L. Ed. 643, 25 S. Ct. 358 (1905). (emphasis added)

       45. “The principle that a competent person has a constitutionally protected liberty interest

in refusing unwanted medical treatment may be inferred from our prior decisions.” Cruzan v.

Director, Mo. Dept. of Health, 497 U.S. 261, 278, 111 L. Ed. 2d 224, 110 S. Ct. 2841 (1990).

       “At common law, even the touching of one person by another without consent and
       without legal justification was a battery. See W. Keeton, D. Dobbs, R.Keeton, &
       D. Owen, Prosser and Keeton on Law of Torts § 9, pp. 39-42 (5th ed.1984). Before
       the turn of the century, this Court observed that "[n]o right is held more sacred, or
       is more carefully guarded, by the common law, than the right of every individual
       to the possession and control of his own person, free from all restraint or
       interference of others, unless by clear and unquestionable authority of law."
       Union Pacific R. Co. v. Botsford, 141 U.S. 250, 251, 11 S.Ct. 1000 1001,35 L.Ed.
       734 (1891)………..
                                                17
       ………….This notion of bodily integrity has been embodied in the requirement that
       informed consent is generally required for medical treatment. Justice Cardozo,
       while on the Court of Appeals of New York, aptly described this doctrine: "Every
       human being of adult years and sound mind has a right to determine what shall
       be done with his own body ……………. The logical corollary of the doctrine of
       informed consent is that the patient generally possesses the right not to consent,
       that is, to refuse treatment.” (emphasis added) Cruzan, supra at pps. 269-270.

       46. It is worth noting that in Planned Parenthood, supra, the Court includes Jacobson v.

Massachusetts as a case “recognizing limits on governmental power to mandate medical treatment

or to bar its rejection.” because Jacobsen has often been cited for the opposite proposition since

its holding was that a state law requiring vaccination was valid. However, the Jacobsen court said:

“Before closing this opinion, we deem it appropriate, in order to prevent misapprehension as to

our views, to observe --perhaps to repeat a thought already sufficiently expressed, namely --that

the police power of a State, whether exercised by the legislature or by a local body acting under

its authority, may be exerted in such circumstances or by regulations so arbitrary and oppressive

in particular cases as to justify the interference of the courts to prevent wrong and oppression.”

(Id, 197 US 38).

       Moreover, Jacobsen was decided 116 years ago when many of our most sacred and

fundamental rights were still being sorted out. Suffrage had not yet occurred, civil rights barely

existed, critical cases on fundamental rights such as interstate travel and bodily privacy had not

been adjudicated and the administrative state that we live in today simply did not exist. Since

Jacobsen the court has decided many critical cases which expanded the conceptual and practical

reach of the Bill of Rights as outlined in the preceding paragraphs.

       47. Plaintiffs contend as emphatically as words will allow that a person has every right to

decide whether something is going to be injected into his body which will have an effect on his

                                                18
body and even more so where it will actually change the way his body functions. This is all the

more so when this injection has caused death and disability to some of those who have taken it.

This is even more so when the positive effects of the injection are not clear and it may only be

effective to reduce symptoms in the event of being infected with the Covid-19 virus. And it is all

the more so when the chances of young healthy people like the Plaintiffs dying from the disease

itself are miniscule. A ruling by this Court that Plaintiffs have no right to decide whether to allow

an unapproved chemical concoction that changes the way the cells of their body function be

injected into their bodies without the threat of loss of employment, such a ruling would fly in the

face of the rights enshrined in the United States Constitution as well as God-given human rights.

         48. It may be tempting for a Court to avoid the issues raised hereinabove or decide them

by deferring to the familiar covid narrative that it is a very deadly disease and therefore that all

measures governments impose to prevent its spread should be given a liberal reading in terms of

their legality.10 However, it is just this sort of acceptance of the popular zeitgeist that a federal

court must be on guard against when important constitutional rights are at stake. Justice Gorsuch

made this point very forcefully in his concurrence in a recent decision striking down New York


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   This narrative though widespread is not universally accepted. In fact, very serious questions are coming to the fore
about the efficacy of the PCR covid test on which the case and death counts are based. Prominent scientists and doctors
have stated that the test, as it is being used, results in a very large percent of false positives, making it a completely
inaccurate test for COVID-19. See Mandavilli, Apoorva. “Your Coronavirus Test Is Positive. Maybe It Shouldn’t Be.”
New York Times, (August 29, 2020), https://www.nytimes.com/2020/08/29/health/coronavirus-testing.html,213 Supra
at fn 211

See also, Jaafar R, Aherfi S, Wurtz N et al. “Correlation Between 3790 Quantitative Polymerase Chain Reaction-
Positive Samples and Positive Cell Cultures, Including 1941 Severe Acute Respiratory Syndrome Coronavirus 2
Isolates.” Clin Infect Dis 2020 Sep; https://doi.org/10.1093/cid/ciaa1491. (a very substantial rigorous study which
found over 90% false positives)



                                                           19
state’s covid restrictions on churches, Roman Catholic Diocese of Brooklyn v. Cuomo, 208

L. Ed. 2d 206, 207 (U.S. 2020).

               At that time, COVID had been with us, in earnest, for just three months.
       Now, as we round out 2020 and face the prospect of entering a second calendar
       year living in the pandemic’s shadow, that rationale has expired according to its
       own terms. Even if the Constitution has taken a holiday during this pandemic, it
       cannot become a sabbatical……Why have some mistaken this Court’s modest
       decision in Jacobson for a towering authority that overshadows the Constitution
       during a pandemic? In the end, I can only surmise that much of the answer lies in
       a particular judicial impulse to stay out of the way in times of crisis. But if that
       impulse may be understandable or even admirable in other circumstances, we
       may not shelter in place when the Constitution is under attack. Things never go
       well when we do. (emphasis added) Id.

              Other noteworthy Supreme Court justices have made similar statements.
       Experience should teach us to be most on our guard to protect liberty when the
       Government's purposes are beneficent. Men born to freedom are naturally alert to
       repel invasion of their liberty by evil-minded rulers. The greatest dangers to liberty
       lurk in insidious encroachment by men of zeal, well-meaning but without
       understanding." Olmstead v. United States, 277 U.S. 438, 479 (1928) (Brandeis, J.,
       dissenting) (overruled in part on other grounds by Katz v. United States, 389 U.S.
       347 (1967)).
       and
       History teaches that grave threats to liberty often come in times of urgency, when
       constitutional rights seem too extravagant to endure.... [W]hen we allow
       fundamental freedoms to be sacrificed in the name of real or perceived exigency,
       we invariably come to regret it." Skinner v. Railway Labor Executives' Ass'n,489
       U.S. 602, 635 (1989) (Marshall, J., dissenting)

COUNT FIVE – 42 USC § 1983 (against the individually named Defendants)

       49. Plaintiffs reallege and incorporate the above allegations as if set forth herein.

       50. In doing the acts complained of hereinabove, Defendants have caused the Plaintiffs to

be subjected to deprivation of rights, privileges, or immunities secured by the Constitution and

laws of the United States and Plaintiffs have been damaged thereby.

       51. Plaintiffs are entitled to damages as determined by the Court.

COUNT SIX – UNCONSTITUTIONAL CONDITIONS (against all Defendants)
                               20
         52. Plaintiffs reallege and incorporate the above allegations as if set forth herein.

         53. Where government actors condition the granting of benefits on the renunciation of

constitutional rights by the recipient, Courts have held this to be a particular constitutional

violation described as unconstitutional conditions. One such benefit which governments may not

condition on renunciation of constitutional rights is employment. O'hare Truck Serv. v. City of

Northlake, 518 U.S. 712, 116 S.Ct. 2353, 135 L.Ed.2d 874 (1996)

         54. By the Defendants conditioning continued employment on Plaintiffs’ accepting

medical treatment to which they did not consent and on Plaintiffs’ allowing their bodily integrity

and physical bodies to be invaded with an unwanted and unapproved drug/vaccine, Defendants

have violated the doctrine of unconstitutional conditions. This entitled Plaintiff ZOCCOLI to

mandamus and/or injunctive relief and both Plaintiffs to damages pursuant to their Section 1983

claim.

COUNT SEVEN: VIOLATION OF HUMAN RIGHTS, CUSTOMARY
INTERNATIONAL LAW, FEDERAL COMMON LAW and INFORMED CONSENT
LAWS (Against County and Defendant Macias)

         55. Plaintiffs reallege and incorporate the above allegations as if set forth herein.

         56. The prohibition against nonconsensual human experimentation is derived from

numerous and varied international and domestic arenas including, but not limited to, the following

laws, agreements, resolutions, treaties, conventions, customs, decisions, teachings and

pronouncements:

         A. U.S. v. Trinidad, 839 F.3d 112, fn. 16 (1st Cir. 2016): "Customary international law is

part of the federal common law.




                                                  21
           B. Restatement (Third) of Foreign Relations Law § 111 (Am. Law Inst. 1987); see also

Kadic v. Karadzic, 70 F.3d 232, 246 (2d Cir. 1995) (accepting “the settled proposition that federal

common law incorporates international law")."

           C. Restatement (Third) of Foreign Relations Law of the United States (1987), sec.111(1):

“International law and international agreements of the United States are law of the United States

and supreme over the law of the several States.”

           D. Nuremberg Code of 1947

           E. The Belmont Report (on which 45 CFR Part 46 was based in part);

           F. Universal Declaration on Bioethics and Human Rights adopted by the United States,

wherein it is stated:

             “Article 5 – Autonomy and individual responsibility, The autonomy of persons
             to make decisions, while taking responsibility for those decisions and respecting
             the autonomy of others, is to be respected….Article 6 – Consent
                   1. Any preventive, diagnostic and therapeutic medical intervention is only
             to be carried out with the prior, free and informed consent of the person
             concerned, based on adequate information. The consent should, where
             appropriate, be express and may be withdrawn by the person concerned at any
             time and for any reason without disadvantage or prejudice.”

           57. As an example of these human rights, the Nuremberg Code states:

              The voluntary consent of the human subject is absolutely essential. This means
              that the person involved should have legal capacity to give consent; should be
              so situated as to be able to exercise free power of choice, without the intervention
              of any element of force, fraud, deceit, duress, over-reaching, or other ulterior
              form of constraint or coercion; and should have sufficient knowledge and
              comprehension of the elements of the subject matter involved, as to enable him
              to make an understanding and enlightened decision.11

           58. It is a basic fundamental human right not to be subjected to non-consensual

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11
     https://history.nih.gov/display/history/Nuremberg+Code

                                                         22
experimentation. By coercing employees of the County to take an experimental injection,

the County manager and supervisors have violated basic principles of free will, choice,

bodily integrity, and human dignity. Such actions on the part of Defendants constitute

crimes against humanity.

       WHEREFORE, Plaintiffs respectfully requests that the Court:

       1. Make a finding that Plaintiffs constitutional rights were violated and that they

created unconstitutional conditions for employment and award relief or damages

accordingly.

       2. Enter declaratory relief as requested in Count One.

       3. Find that the Defendants have violated the New Mexico Whistleblowers’ Act as

to Plaintiff LEGARRETA and award damages and relief as outlined in that Act.

       4. Issue injunctive relief and/or a writ of mandamus requiring Defendants to

reinstate Plaintiff ZOCCOLI.

       5. Enjoin Defendants from mandating experimental vaccines.

       6. Award damages and attorneys fees pursuant to 42 USC §1983 and 1988.

       7. Declaring that coercion and/or mandating an experimental injection constitutes

violation of customary international standards, federal common law, and are crimes against

humanity.

       8. For such other and further relief as the Court deems just and proper in the

circumstances.




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     Respectfully submitted,

     /s/ N. Ana Garner
     N. Ana Garner
     Attorney for Plaintiffs
     1000 Cordova Pl., #644
     Santa Fe, NM 87505
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     and

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24
                                                           DONA ANA COUNTY
                                                    COUNTY MANAGER'S OFFICE


MEMORANDUM
To:             All Dona Ana County First Responders

From:           Fernando R. Macias

Date:           January 29, 2021

Subject:        Mandatory COVID-19 Vaccination Directive

On March 11,2020, the novel coronavirus (COVID-19) was declared a pandemic by the World
Health Organization. Due to the severity of illness and risk of death or serious harm that may
result from becoming infected with COVID-19, this pandemic rises to the level of a direct threat
as defined by the Occupational Safety and Health Administration (OSHA). As required by
OSHA and in accordance with the County's duty to provide and maintain a workplace that is free
of known hazards, we are adopting a mandatory COVID-19 vaccination directive to safeguard
the health of our employees, their families, the customers we serve, and the community at large
from this highly contagious, infectious disease. This directive takes into account all applicable
laws and guidance from local health authorities.

All first responders will be required to receive the COVID-19 vaccination unless a reasonable
accommodation is approved. Vaccines will be available for first responders on February 2, 3 and
4, 2021. First responders include certified law enforcement officers, detention officers and other
staff who have face-to-face contact with inmates, firefighters, emergency medical technicians
and paramedics. Volunteer firefighters and EMT's are strongly encouraged to be vaccinated
next week as well.

There are certain conditions where receiving the COVID-19 vaccination is not advisable such as
a history of adverse reactions to vaccines or other qualifying conditions. General information
about the COVID vaccine can be found at Irt1.ps:/h:\'.nmh nlLh. )' 0 cm'id-YLlCc i lll',I. If you believe
that you have a qualifying condition that requires an accommodation, contact the Human
Resources department to obtain the accommodation request form and guidance regarding the
process. An accommodation may be granted if it does not cause an undue hardship or pose a
direct threat to the health and safety of others. If you have an EEO or ADA related concern
regarding the vaccination requirement, you will need to speak directly to a Human Resources
Administrator to see if an accommodation can be made. Questions and concerns related to an
accommodation should not be taken to your supervisor or department head as this type of
information is generally private and protected.                                             J."L--

                                          EXHIBIT A
According to the New Mexico Department of Health, the COVrD-l9 vaccine rollout is in phase
lb which includes first responders. To register for the vaccine, go to \\' w\\",nl cci ll 11 11 1. OH! and
follow the steps below:

1. Login to the New Mexico Department of Health vaccination website - www.vaccincnm.oru
2. Submit basic contact information and select the employment category First Responder or
   Corrections and list any medical conditions.
3. Once you have completed registration with the State, contact the Designated rnfection
   Control Officer (DrCO) for your department to notify them. The DrCO will then provide
   you with additional information about how to register for a specific appointment.

Please note that first responder vaccination events taking place on February 2, 3 and 4,
2021 may be the final opportunity for you to receive priority status for the vaccination. It
is required that, if you have not already started your vaccinations, that you be vaccinated
with your first dose on one of these days, or contact Human Resources for accommodation.
Being vaccinated is a requirement and a condition of on-going employment with the
County due to the significant health and safety risks posed by contracting or spreading
COVID-19.

Once you receive your vaccination, you must provide the proof of vaccination to the Human
Resources Department and your department's Drco for tracking purposes.

Thank you for your commitment to our community. And, thank you for your ongoing
service in this critical role to protect our residents!
t




                          Coaching/Counseling Acknowledgement



    I acknowledge that I have had the policy, procedure, or execution of a specific work
    process demonstrated or explained to me regarding the following:

    Officer Legarreta, on January 29, 2021, a Mandatory COVID-19 Vaccination
    Directive was given by Dona Ana County Manager Fernando Macias via email.
    Th e directive specifically sta tes that all first responders will be requi red to receive
    the COVID-19 vaccination unless a reasonable accommodation is approved by
    Human Resources. Additionally, on January 29,2021, Detention Center Director
    Bryan Baker sent a follow-up email to all detention center staff with a requirement
    that all individuals with access to the secure area of the facility are mandated to
    have received their first dose of their vaccination by February 5th, 2021 unless
    there is a documented ADA or EEO exception granted by Human Resources.

    Officer Legarreta, as of today's date you have not provided proof of receiving the
    COVID-19 Vaccination or having registered for the vaccination. You are being
    required to follow the attached directives from Fernando Macias and Bryan Baker,
    which requires you to receive the COVID-19 Vaccination. You have 5 business
    days from today's date to comply with the directives and provide your
    registration number. Please keep in mind that you may request a reasonable
    accommodation by Human Resources. Please provide proof or notification to the
    Detention Center's Designated Infection Control Officer (DICO) Lieutenant
    Matthew Cordova within 5 business days of today's date.

    with the purpose of bringing my work performance in line with Dona Ana County
    Detention Center standards and expectations.

    I understand and acknowledge that coaching/mentoring is not considered a form of
    discipline and is solely used as a tool for performance management and is intended to
    proactively enhance the employee's performance through feedback and re-direction as
    per Dona Ana County Human Resources Policy 9-1 "Coaching and Counseling".


    Print Name and 10 #                                           Date



                                             EXHIBIT B
    Signature
Coach I Counselor I Supervisor Print Name and ID #   Date



                or I Supervisor Signature
                                                                    December 23, 2020

Pfizer Inc.
Attention: Ms. Elisa Harkins
500 Arcola Road
Collegeville, PA 19426

Dear Ms. Harkins:

On February 4, 2020, pursuant to Section 564(b)(1)(C) of the Act, the Secretary of the
Department of Health and Human Services (HHS) determined that there is a public health
emergency that has a significant potential to affect national security or the health and security of
United States citizens living abroad, and that involves the virus that causes COVID-19. 1 On the
basis of such determination, the Secretary of HHS on March 27, 2020, declared that
circumstances exist justifying the authorization of emergency use of drugs and biological
products during the COVID-19 pandemic, pursuant to Section 564 of the Act, subject to terms of
any authorization issued under that section. 2

On December 11, 2020, the Food and Drug Administration (FDA) issued an Emergency Use
Authorization (EUA) for emergency use of Pfizer-BioNTech COVID‑19 Vaccine for the
prevention of Coronavirus Disease 2019 (COVID-19) for individuals 16 years of age and older,
as described in the Scope of Authorization (Section II) of this letter, pursuant to Section 564 of
the Federal Food, Drug, and Cosmetic Act (the FD&C Act or the Act) (21 U.S.C. 360bbb-3).
On December 23, 2020, having concluded that revising this EUA is appropriate to protect the
public health or safety under section 564(g)(2) of the Act, FDA is reissuing the December 11,
2020 letter in its entirety with revisions incorporated to remove reference to the number of doses
per vial after dilution, to clarify instructions for vaccination provider reporting to VAERS, and to
provide other technical corrections. The Fact Sheet for Healthcare Providers Administering
Vaccine (Vaccination Providers) is being revised to clarify the number of doses of vaccine per
vial after dilution and the instructions for reporting to VAERS. In addition, the Fact Sheet for
Healthcare Providers Administering Vaccine (Vaccination Providers) and the Fact Sheet for
Recipients and Caregivers are being revised to include additional information on safety
monitoring and to clarify information about the availability of other COVID-19 vaccines.

Pfizer-BioNTech COVID‑19 Vaccine is for use for active immunization to prevent COVID-19
caused by severe acute respiratory syndrome coronavirus 2 (SARS-CoV-2) in individuals 16
1
 U.S. Department of Health and Human Services, Determination of a Public Health Emergency and Declaration
that Circumstances Exist Justifying Authorizations Pursuant to Section 564(b) of the Federal Food, Drug, and
Cosmetic Act, 21 U.S.C. § 360bbb-3. February 4, 2020.
2
 U.S. Department of Health and Human Services, Declaration that Circumstances Exist Justifying Authorizations
Pursuant to Section 564(b) of the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 360bbb-3, 85 FR 18250
(April 1, 2020).

                                             EXHIBIT C
Page 2 – Pfizer Inc.


years of age and older. The vaccine contains a nucleoside-modified messenger RNA (modRNA)
encoding the viral spike (S) glycoprotein of SARS-CoV-2 formulated in lipid particles. It is an
investigational vaccine not licensed for any indication.

FDA reviewed safety and efficacy data from an ongoing phase 1/2/3 trial in approximately
44,000 participants randomized 1:1 to receive Pfizer-BioNTech COVID‑19 Vaccine or saline
control. The trial has enrolled participants 12 years of age and older. FDA’s review has
considered the safety and effectiveness data as they relate to the request for emergency use
authorization in individuals 16 years of age and older. FDA’s review of the available safety data
from 37,586 of the participants 16 years of age and older, who were followed for a median of
two months after receiving the second dose, did not identify specific safety concerns that would
preclude issuance of an EUA. FDA’s analysis of the available efficacy data from 36,523
participants 12 years of age and older without evidence of SARS-CoV-2 infection prior to 7 days
after dose 2 confirm the vaccine was 95% effective (95% credible interval 90.3, 97.6) in
preventing COVID-19 occurring at least 7 days after the second dose (with 8 COVID-19 cases in
the vaccine group compared to 162 COVID-19 cases in the placebo group). Based on these data,
and review of manufacturing information regarding product quality and consistency, it is
reasonable to believe that Pfizer-BioNTech COVID‑19 Vaccine may be effective. Additionally,
it is reasonable to conclude, based on the totality of the scientific evidence available, that the
known and potential benefits of Pfizer-BioNTech COVID‑19 Vaccine outweigh the known and
potential risks of the vaccine, for the prevention of COVID-19 in individuals 16 years of age and
older. Finally, on December 10, 2020, the Vaccines and Related Biological Products Advisory
Committee voted in agreement with this conclusion.

Having concluded that the criteria for issuance of this authorization under Section 564(c) of the
Act are met, I am authorizing the emergency use of Pfizer-BioNTech COVID‑19 Vaccine for the
prevention of COVID-19, as described in the Scope of Authorization section of this letter
(Section II) and subject to the terms of this authorization.

I.     Criteria for Issuance of Authorization

I have concluded that the emergency use of Pfizer-BioNTech COVID‑19 Vaccine for the
prevention of COVID-19 when administered as described in the Scope of Authorization (Section
II) meets the criteria for issuance of an authorization under Section 564(c) of the Act, because:

      1. SARS-CoV-2 can cause a serious or life-threatening disease or condition, including
         severe respiratory illness, to humans infected by this virus;

      2. Based on the totality of scientific evidence available to FDA, it is reasonable to believe
         that Pfizer-BioNTech COVID‑19 Vaccine may be effective in preventing COVID-19,
         and that, when used under the conditions described in this authorization, the known and
         potential benefits of Pfizer-BioNTech COVID‑19 Vaccine when used to prevent
         COVID-19 outweigh its known and potential risks; and
Page 3 – Pfizer Inc.


          3. There is no adequate, approved, and available alternative to the emergency use of
             Pfizer-BioNTech COVID‑19 Vaccine to prevent COVID-19. 3

II.        Scope of Authorization

I have concluded, pursuant to Section 564(d)(1) of the Act, that the scope of this authorization is
limited as follows:

                •    Pfizer Inc. will supply Pfizer-BioNTech COVID‑19 Vaccine either directly or
                     through authorized distributor(s) 4, to emergency response stakeholders 5 as
                     directed by the U.S. government, including the Centers for Disease Control and
                     Prevention (CDC) and/or other designee, for use consistent with the terms and
                     conditions of this EUA;
                •    The Pfizer-BioNTech COVID‑19 Vaccine covered by this authorization will be
                     administered by vaccination providers 6 and used only to prevent COVID-19 in
                     individuals ages 16 and older; and
                •    Pfizer-BioNTech COVID‑19 Vaccine may be administered by a vaccination
                     provider without an individual prescription for each vaccine recipient.

Product Description


3
    No other criteria of issuance have been prescribed by regulation under Section 564(c)(4) of the Act.
4
 “Authorized Distributor(s)” are identified by Pfizer Inc. or, if applicable, by a U.S. government entity, such as the
Centers for Disease Control and Prevention (CDC) and/or other designee, as an entity or entities allowed to
distribute authorized Pfizer-BioNTech COVID‑19 Vaccine.
5
  For purposes of this letter, “emergency response stakeholder” refers to a public health agency and its delegates that
have legal responsibility and authority for responding to an incident, based on political or geographical boundary
lines (e.g., city, county, tribal, territorial, State, or Federal), or functional (e.g., law enforcement or public health
range) or sphere of authority to administer, deliver, or distribute vaccine in an emergency situation. In some cases
(e.g., depending on a state or local jurisdiction’s COVID-19 vaccination response organization and plans), there
might be overlapping roles and responsibilities among “emergency response stakeholders” and “vaccination
providers” (e.g., if a local health department is administering COVID-19 vaccines; if a pharmacy is acting in an
official capacity under the authority of the state health department to administer COVID-19 vaccines). In such cases,
it is expected that the conditions of authorization that apply to emergency response stakeholders and vaccination
providers will all be met.
6
  For purposes of this letter, “vaccination provider” refers to the facility, organization, or healthcare provider
licensed or otherwise authorized by the emergency response stakeholder (e.g., non-physician healthcare
professionals, such as nurses and pharmacists pursuant to state law under a standing order issued by the state health
officer) to administer or provide vaccination services in accordance with the applicable emergency response
stakeholder’s official COVID-19 vaccination and emergency response plan(s) and who is enrolled in the CDC
COVID-19 Vaccination Program. For purposes of this letter, “healthcare provider” also refers to a person authorized
by the U.S. Department of Health and Human Services (e.g., under the PREP Act Declaration for Medical
Countermeasures against COVID-19) to administer FDA-authorized COVID-19 vaccine (e.g., qualified pharmacy
technicians and State-authorized pharmacy interns acting under the supervision of a qualified pharmacist). See, e.g.,
HHS. Fourth Amendment to the Declaration Under the Public Readiness and Emergency Preparedness Act for
Medical Countermeasures Against COVID-19 and Republication of the Declaration. 85 FR 79190 (December 9,
2020).
Page 4 – Pfizer Inc.


The Pfizer-BioNTech COVID-19 Vaccine is supplied as a frozen suspension in multiple dose
vials; each vial must be diluted with 1.8 mL of sterile 0.9% Sodium Chloride Injection, USP
prior to use to form the vaccine. The Pfizer-BioNTech COVID-19 Vaccine does not contain a
preservative.

Each 0.3 mL dose of the Pfizer-BioNTech COVID-19 Vaccine contains 30 mcg of a nucleoside-
modified messenger RNA (modRNA) encoding the viral spike (S) glycoprotein of SARS-CoV-2.
Each dose of the Pfizer-BioNTech COVID-19 Vaccine also includes the following ingredients:
lipids (0.43 mg (4-hydroxybutyl)azanediyl)bis(hexane-6,1-diyl)bis(2-hexyldecanoate), 0.05 mg
2[(polyethylene glycol)-2000]-N,N-ditetradecylacetamide, 0.09 mg 1,2-distearoyl-sn-glycero-3-
phosphocholine, and 0.2 mg cholesterol), 0.01 mg potassium chloride, 0.01 mg monobasic
potassium phosphate, 0.36 mg sodium chloride, 0.07 mg dibasic sodium phosphate dihydrate,
and 6 mg sucrose. The diluent (0.9% Sodium Chloride Injection) contributes an additional 2.16
mg sodium chloride per dose.

The dosing regimen is two doses of 0.3 mL each, 3 weeks apart.

The manufacture of the authorized Pfizer-BioNTech COVID‑19 Vaccine is limited to those
facilities identified and agreed upon in Pfizer’s request for authorization.

The Pfizer-BioNTech COVID-19 Vaccine vial label and carton labels are clearly marked for
“Emergency Use Authorization.” The Pfizer-BioNTech COVID‑19 Vaccine is authorized to be
distributed, stored, further redistributed, and administered by emergency response stakeholders
when packaged in the authorized manufacturer packaging (i.e., vials and cartons), despite the
fact that the vial and carton labels may not contain information that otherwise would be required
under the FD&C Act.

Pfizer-BioNTech COVID‑19 Vaccine is authorized for emergency use with the following
product-specific information required to be made available to vaccination providers and
recipients, respectively (referred to as “authorized labeling”):

    •   Fact Sheet for Healthcare Providers Administering Vaccine (Vaccination Providers):
        Emergency Use Authorization (EUA) of Pfizer-BioNTech COVID‑19 Vaccine to Prevent
        Coronavirus Disease 2019 (COVID-19)

    •   Fact Sheet for Recipients and Caregivers: Emergency Use Authorization (EUA) of
        Pfizer-BioNTech COVID‑19 Vaccine to Prevent Coronavirus Disease 2019 (COVID-19)
        in Individuals 16 Years of Age and Older

I have concluded, pursuant to Section 564(d)(2) of the Act, that it is reasonable to believe that
the known and potential benefits of Pfizer-BioNTech COVID‑19 Vaccine, when used to prevent
COVID-19 and used in accordance with this Scope of Authorization (Section II), outweigh its
known and potential risks.

I have concluded, pursuant to Section 564(d)(3) of the Act, based on the totality of scientific
evidence available to FDA, that it is reasonable to believe that Pfizer-BioNTech COVID‑19
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Vaccine may be effective in preventing COVID-19 when used in accordance with this Scope of
Authorization (Section II), pursuant to Section 564(c)(2)(A) of the Act.

Having reviewed the scientific information available to FDA, including the information
supporting the conclusions described in Section I above, I have concluded that Pfizer-BioNTech
COVID‑19 Vaccine (as described in this Scope of Authorization (Section II)) meets the criteria set
forth in Section 564(c) of the Act concerning safety and potential effectiveness.

The emergency use of Pfizer-BioNTech COVID‑19 Vaccine under this EUA must be consistent
with, and may not exceed, the terms of the Authorization, including the Scope of Authorization
(Section II) and the Conditions of Authorization (Section III). Subject to the terms of this EUA and
under the circumstances set forth in the Secretary of HHS's determination under Section
564(b)(1)(C) described above and the Secretary of HHS’s corresponding declaration under Section
564(b)(1), Pfizer-BioNTech COVID‑19 Vaccine is authorized to prevent COVID-19 in individuals
16 years of age and older as described in the Scope of Authorization (Section II) under this EUA,
despite the fact that it does not meet certain requirements otherwise required by applicable federal
law.

III.    Conditions of Authorization

Pursuant to Section 564 of the Act, I am establishing the following conditions on this authorization:

Pfizer Inc. and Authorized Distributor(s)

           A. Pfizer Inc. and authorized distributor(s) will ensure that the authorized Pfizer-
              BioNTech COVID‑19 Vaccine is distributed, as directed by the U.S. government,
              including CDC and/or other designee, and the authorized labeling (i.e., Fact Sheets)
              will be made available to vaccination providers, recipients, and caregivers consistent
              with the terms of this letter.

           B. Pfizer Inc. and authorized distributor(s) will ensure that appropriate storage and cold
              chain is maintained until delivered to emergency response stakeholders’ receipt sites.

           C. Pfizer Inc. will ensure that the terms of this EUA are made available to all relevant
              stakeholders (e.g., emergency response stakeholders, authorized distributors, and
              vaccination providers) involved in distributing or receiving authorized Pfizer-
              BioNTech COVID‑19 Vaccine. Pfizer Inc. will provide to all relevant stakeholders a
              copy of this letter of authorization and communicate any subsequent amendments that
              might be made to this letter of authorization and its authorized labeling.

           D. Pfizer Inc. may develop and disseminate instructional and educational materials (e.g.,
              video regarding vaccine handling, storage/cold-chain management, preparation,
              disposal) that are consistent with the authorized emergency use of the vaccine as
              described in the letter of authorization and authorized labeling, without FDA’s review
              and concurrence, when necessary to meet public health needs during an emergency.
              Any instructional and educational materials that are inconsistent with the authorized
              labeling are prohibited.
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          E. Pfizer Inc. may request changes to this authorization, including to the authorized Fact
             Sheets for Pfizer-BioNTech COVID‑19 Vaccine, that do not alter the analysis of
             benefits and risks that underlies this authorization and FDA may determine that such
             changes may be permitted without amendment of this EUA. That determination must
             be made by joint decision of the Office of Vaccines Research and Review
             (OVRR)/Center for Biologics Evaluation and Research (CBER), the Preparedness
             and Response Team (PREP)/Office of the Center Director (OD)/CBER, and the
             Office of Counterterrorism and Emerging Threats (OCET)/Office of the Chief
             Scientist/Office of the Commissioner (OCS).

          F. Pfizer Inc. will report to Vaccine Adverse Event Reporting System (VAERS):
             • Vaccine administration errors whether or not associated with an adverse event;
             • Serious adverse events (irrespective of attribution to vaccination);
             • Cases of Multisystem Inflammatory Syndrome in children and adults; and
             • Cases of COVID-19 that result in hospitalization or death, that are reported to
                 Pfizer Inc.
             These reports should be submitted to VAERS as soon as possible but no later than
             15 calendar days from initial receipt of the information by Pfizer Inc.

          G. Pfizer Inc. must submit to Investigational New Drug application (IND) number 19736
             periodic safety reports at monthly intervals, within 15 days after the last day of a month,
             beginning after the first full calendar month after authorization. Each periodic safety
             report is required to contain descriptive information which includes:
             • A narrative summary and analysis of adverse events submitted during the reporting
                 interval, including interval and cumulative counts by age groups, special
                 populations (e.g., pregnant women), and adverse events of special interest.
             • Newly identified safety concerns in the interval; and
             • Actions taken since the last report because of adverse experiences (for example,
                 changes made to Healthcare Providers Administering Vaccine (Vaccination
                 Providers) Fact Sheet, changes made to studies or studies initiated).

          H. No changes will be implemented to the description of the product, manufacturing
             process, facilities, or equipment without notification to and concurrence by the
             Agency.

          I. All manufacturing facilities will comply with Current Good Manufacturing Practice
             requirements.

          J. Pfizer Inc. will submit to the EUA file Certificates of Analysis (CoA) for each drug
             product lot at least 48 hours prior to vaccine distribution. The CoA will include the
             established specifications and specific results for each quality control test performed
             on the final drug product lot.

          K. Pfizer Inc. will submit to the EUA file quarterly manufacturing reports that include a
             listing of all Drug Substance and Drug Product lots produced after issuance of this
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              authorization. This report must include lot number, manufacturing site, date of
              manufacture, and lot disposition, including those lots that were quarantined for
              investigation or those lots that were rejected. Information on the reasons for lot
              quarantine or rejection must be included in the report. The first report is due July
              2021.

          L. Pfizer Inc. and authorized distributor(s) will maintain records regarding release of
             Pfizer-BioNTech COVID‑19 Vaccine for distribution (i.e., lot numbers, quantity,
             release date).

          M. Pfizer Inc. and authorized distributor(s) will make available to FDA upon request any
             records maintained in connection with this EUA.

          N. Pfizer Inc. will conduct post-authorization observational study(ies) to evaluate the
             association between Pfizer-BioNTech COVID-19 Vaccine and a pre-specified list of
             adverse events of special interest, along with deaths and hospitalizations, and severe
             COVID-19. The study population should include individuals administered the
             authorized Pfizer-BioNTech COVID-19 Vaccine under this EUA in the general U.S.
             population (16 years of age and older), populations of interest such as healthcare
             workers, pregnant women, immunocompromised individuals, subpopulations with
             specific comorbidities. The study(ies) should be conducted in large scale databases
             with an active comparator. Pfizer Inc. will provide protocols and status update
             reports to the IND 19736 with agreed-upon study designs and milestone dates.

Emergency Response Stakeholders

          O. Emergency response stakeholders will identify vaccination sites to receive authorized
             Pfizer-BioNTech COVID‑19 Vaccine and ensure its distribution and administration,
             consistent with the terms of this letter and CDC’s COVID-19 Vaccination Program.

          P. Emergency response stakeholders will ensure that vaccination providers within their
             jurisdictions are aware of this letter of authorization, and the terms herein and any
             subsequent amendments that might be made to the letter of authorization, instruct
             them about the means through which they are to obtain and administer the vaccine
             under the EUA, and ensure that the authorized labeling [i.e., Fact Sheet for Healthcare
             Providers Administering Vaccine (Vaccination Providers) and Fact Sheet for
             Recipients and Caregivers] is made available to vaccination providers through
             appropriate means (e.g., e-mail, website).

          Q. Emergency response stakeholders receiving authorized Pfizer-BioNTech COVID‑19
             Vaccine will ensure that appropriate storage and cold chain is maintained.

Vaccination Providers
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          R. Vaccination providers will administer the vaccine in accordance with the
             authorization and will participate and comply with the terms and training required by
             CDC’s COVID-19 Vaccination Program.

          S. Vaccination providers will provide the Fact Sheet for Recipients and Caregivers to
             each individual receiving vaccination and provide the necessary information for
             receiving their second dose.

          T. Vaccination providers administering Pfizer-BioNTech COVID‑19 Vaccine must
             report the following information associated with the administration of Pfizer-
             BioNTech COVID‑19 Vaccine of which they become aware to VAERS in
             accordance with the Fact Sheet for Healthcare Providers Administering Vaccine
             (Vaccination Providers):
             • Vaccine administration errors whether or not associated with an adverse event
             • Serious adverse events (irrespective of attribution to vaccination)
             • Cases of Multisystem Inflammatory Syndrome in children and adults
             • Cases of COVID-19 that result in hospitalization or death
              Complete and submit reports to VAERS online at
              https://vaers.hhs.gov/reportevent.html. The VAERS reports should include the
              words “Pfizer-BioNTech COVID‑19 Vaccine EUA” in the description section of
              the report. More information is available at vaers.hhs.gov or by calling 1-800-822-
              7967. To the extent feasible, report to Pfizer Inc. by contacting 1-800-438-1985 or
              by providing a copy of the VAERS form to Pfizer Inc.; Fax: 1-866-635-8337.
          U. Vaccination providers will conduct any follow-up requested by the U.S
             government, including CDC, FDA, or other designee, regarding adverse events to
             the extent feasible given the emergency circumstances.

          V. Vaccination providers will monitor and comply with CDC and/or emergency
             response stakeholder vaccine management requirements (e.g., requirements
             concerning obtaining, tracking, and handling vaccine) and with requirements
             concerning reporting of vaccine administration data to CDC.

          W. Vaccination providers will ensure that any records associated with this EUA are
             maintained until notified by FDA. Such records will be made available to CDC,
             and FDA for inspection upon request.
Conditions Related to Printed Matter, Advertising, and Promotion

          X. All descriptive printed matter, advertising, and promotional material, relating to the
             use of the Pfizer-BioNTech COVID‑19 Vaccine shall be consistent with the
             authorized labeling, as well as the terms set forth in this EUA, and meet the
             requirements set forth in section 502(a) and (n) of the FD&C Act and FDA
             implementing regulations.
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          Y. All descriptive printed matter, advertising, and promotional material relating to the
             use of the Pfizer-BioNTech COVID‑19 Vaccine clearly and conspicuously shall state
             that:
               • This product has not been approved or licensed by FDA, but has been
                   authorized for emergency use by FDA, under an EUA to prevent Coronavirus
                   Disease 2019 (COVID-19) for use in individuals 16 years of age and older; and
               • The emergency use of this product is only authorized for the duration of the
                   declaration that circumstances exist justifying the authorization of emergency
                   use of the medical product under Section 564(b)(1) of the FD&C Act unless the
                   declaration is terminated or authorization revoked sooner.

IV.    Duration of Authorization

This EUA will be effective until the declaration that circumstances exist justifying the
authorization of the emergency use of drugs and biological products during the COVID-19
pandemic is terminated under Section 564(b)(2) of the Act or the EUA is revoked under Section
564(g) of the Act.

                                             Sincerely,

                                                     --/S/--
                                             ____________________________
                                             RADM Denise M. Hinton
                                             Chief Scientist
                                             Food and Drug Administration


Enclosures
